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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

NORRIS WILLIAMS,

       Petitioner,

v.                                            Case No.: 2:22-cv-309-SPC-MRM

UNITED STATES OF AMERICA,

       Respondent.
                                       /

     STANDING ORDER REGARDING MOTION UNDER 28 U.S.C. § 2255

       The Court issues this Standing Order on receipt of Petitioner’s Motion Under

28 U.S.C. § 2255 to Vacate, Set Aside or Correct Sentence by a Person in Federal

Custody, which the Fort Myers Division docketed on May 10, 2022. This Standing

Order provides directives to Petitioner and Respondent in litigating this Motion.

       Accordingly, it is ORDERED:

       1.    Rules: All parties, including petitioners without counsel, must comply

with the Federal Rules of Civil Procedure, Local Rules for the Middle District of

Florida, Rules Governing Section 2255 Proceedings for the United States District

Courts, and all Court orders and forms.

       2.    Service: The Clerk will serve a copy of Petitioner’s Motion on the United

States Attorney’s Office for the Middle District of Florida and direct a response.

       3.    Copies: Petitioner should keep one copy of all documents filed or

received for his personal records. If Petitioner needs a copy from the Clerk’s Office, it

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will cost $0.50 per page. Any motion requesting copies must include a check or money

order to cover the costs of copying. Failure to include the check or money order may

cause the Court to deny any motion for copies.

       4.     Case Number: Petitioner’s Motion has been docketed in both the criminal

case, in which the challenged judgment issued, and a separate civil case. Going

forward, Petitioner and Respondent must only file documents related to the Motion

in the civil case, which is 2:22-cv-309-SPC-MRM. The parties must include the entire

civil case number (and letters) on all future filings with the Court. Any filings without

the case number will be returned without docketing.

       5.     Form of Pleadings: All documents filed with the Court must be legibly

printed or typewritten on one side of 8 ½ x 11-inch white paper. If typewritten, the

filing must be double-spaced and in at least 14-point Times New Roman or 13-point

type in one of the following typefaces: Book Antiqua, Calisto MT, Century

Schoolbook, Georgia, or Palatino. Failure to comply with these formatting

requirements may cause the Court to return the documents without docketing or strike

documents after docketing.

       6.     Signature: Petitioner must sign documents filed with the Court under the

penalty of perjury. See 28 U.S.C. § 1746; Fed. R. Civ. P. 11. If a signature is missing,

the Court will strike the filing and direct the party to resubmit it.

       7.     Notice of Change of Address: It is Petitioner’s duty to keep the Court

and Respondent notified of Petitioner’s current address. If the Court or Respondent



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does not have a current address, Petitioner cannot receive orders, filings, and other

documents. The Court may dismiss the case if Petitioner fails to advise it of any change

in address.

      a.      If Petitioner is transferred to another facility, he must file a written Notice

              of Change of Address with the Clerk’s Office within 14 days of arriving at

              the new facility. The Notice must identify the new mailing address.

      b.      If Petitioner is released from custody before the Court rules on the

              Petition, he must immediately notify the Court of his release and why his

              release does not moot the Petition.

      8.      Communication with the Court: Neither Petitioner nor anyone on

Petitioner’s behalf can write letters to, call, or otherwise contact the judges or their

staff. The only way to communicate with the Court is through a written pleading or

motion filed with the Clerk’s Office.

      DONE and ORDERED in Fort Myers, Florida on May 11, 2022.

        /s/ Sheri Polster Chappell                        /s/ John Badalamenti
         Sheri Polster Chappell                            John Badalamenti
       United States District Judge                    United States District Judge

           /s/ John E. Steele
            John E. Steele
   Senior United States District Judge




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